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           ORDERED in the Southern District of Florida on September 10, 2024.




                                                            Laurel M. Isicoff, Judge
                                                            United States Bankruptcy Court
___________________________________________________________________________

                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA

          In re:    Israel Orta                                          Case No.: 24-17587-LMI
                                                                         Chapter 7
                              Debtor(s)                 /
                                    ORDER REINSTATING CHAPTER 7 CASE

           This matter came before the Court,       after a hearing held on September 9, 2024,
               without a hearing, upon the debtor’s/debtors’ motion for reinstatement of the above
           captioned case [ECF No. 12       ], which case had been dismissed by prior order of the
           Court.

           Upon consideration of the debtor’s/debtors’ motion and the presentation at the hearing, if
           applicable, the Court ORDERS as follows:

           A.      The above captioned case is reinstated effective upon entry of this order.

           B.      Pursuant to 11 U.S.C. §362(c)(2)(B), the automatic stay terminated on the date this
                   case was dismissed and was not in effect from such date until the entry of this order.
                   The automatic stay under 11 U.S.C. §362 shall become effective as of the date of
                   entry of this order.

           C.      The Order Discharging Trustee, if entered, is vacated.




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D.      If not previously filed, any and all documents required to be filed by the debtor(s)
        under 11 U.S.C. §521(a)(1), Bankruptcy Rule 1007, and Local Rule 1007-1 shall be
        filed no later than 14 days after entry of this order.

E.      If the debtor(s) fail(s) to timely comply with any requirements of this order, the above
        captioned case will be dismissed without further notice or hearing.

F.      Status of meeting of creditors under 11 U.S.C. §341 and related deadlines [select
        1 or 2]:

            1. Because this case was dismissed prior to the conclusion of the meeting of
               creditors under 11 U.S.C. §341, the previously scheduled meeting of
               creditors was canceled. In accordance with Local Rules 3002-1(B)(2),
               4004-2(B)(1) and 4007-1(B)(1), the Clerk will provide notice to all parties of
               record of the date of the rescheduled meeting of creditors and applicable
               deadlines for the filing of proof of claim, objections to discharge and
               objections to the dischargeability of particular debts.

            2. This case was dismissed after the meeting of creditors under 11 U.S.C.
               §341. Any applicable deadlines in accordance with Local Rules 3002-
               1(B)(2), 4004-2(A)(2)(a), 4004-2(B)(1) and 4007-1(B)(1) will be reset by
               separate order.

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Submitted by:
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All parties of record by Clerk




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